 AO 91 (Rev. 11/11)    Criminal Complaint



                                            UNITED STATES DISTRICT COURT
                                                                         for the

                                                           Middle   District       of Tennessee

                      United States of America                                 )
                                  v.                                           )
                  JOSIAH ERNESTO GARCIA                                        )        Case No. 23-mj-2033
                                                                               )
                                                                               )
                                                                               )
                                                                               )
                              Defendant(s)


                                                       CRIMINAL COMPLAINT
           I, the complainant        in this case, state that the following         is true to the best of my knowledge         and belief.

On or about the date(s) of                         April 12, 2023                      in the county of                  Davidson               in the

        Middle            District   of           Tennessee             , the defendant(s)        violated:

              Code section                                                                Offense Description
Title 18, United States Code,                        Use of Interstate Commerce            Facilities in the Commission         of Murder-For-Hire
Section 1958




           This criminal      complaint      is based on these facts:

See the attached statement in support of criminal complaint




          if Continued on the attached sheet.




Sworn to me remotely          by telephone, in compliance        with
Fed. R. Crim. P. 4.1.

Date:    April 13, 2023
                                                                                                                Judge 's Signature

City and state:                        Nashville, Tennessee                              United States Magistrate Judge Jeffrey S. Frensley
                                                                                                              Printed name and litle




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                   STATEMENT IN SUPPORT OF PROBABLE CAUSE

       Stephen B. Hunter, Special Agent (SA), Federal Bureau of Investigation (FBI), Memphis

Division, Nashville Resident Agency, being duly sworn, depose and state the following:


                                       INTRODUCTION


       1.      I am an investigative or law enforcement officer of the United States within the

meaning of Title 18, United States Code, Section 2510(7), that is, an officer of the United States

who is empowered by law to conduct investigations and to make arrests for all federal law

violations, including violations of Title 18 and Title 21 of the United States Code.

       2.      I am a Special Agent with the Federal Bureau of Investigation (FBI) and have been

so employed for approximately 14 years. I have authored, executed, and/or participated in

numerous search and seizure warrants for violent crime and illegal narcotics. I have conducted

numerous controlled purchases of narcotics and firearms. I am experienced in handling CHSs

during controlled purchases and utilizing audio/video devices during the transactions. I have

participated in the operation and execution of Federal Title III orders. I have arrested and/or

participated in the arrest of numerous persons for violations of State and Federal violent crime

statutes, including for violations of Title 18. From November of 2009 until October of 2015, I was

assigned to investigate violent gangs in the Washington D.C. and Prince George’s County,

Maryland, metropolitan area as a member of the FBI’s Safe Streets Task Force. I am currently

assigned to investigate violent crime and gangs in the Nashville, Tennessee, Metropolitan area as

a member of the FBI’s Violent Crime Task Force. I have received specialized training in the areas

of violent crime and illegal narcotics. I have worked a variety of violent crime cases. I have also

consulted a length with other law enforcement agents who have specific experience investigating

murder-for-hire cases.



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       3.      I am familiar with 18 United States Code Section 1958, which makes it a crime to

travel in or cause another to travel in interstate or foreign commerce, or use or cause another to

use the mail or any facility of interstate or foreign commerce, with the intent that a murder be

committed in violation of the laws of any State or the United States as consideration for the receipt

of, or as consideration for a promise or agreement to pay, anything of pecuniary value.

       4.      I have set forth only those facts that I believe are necessary to establish probable

cause. The information contained in this Affidavit is based upon my personal knowledge, my

review of documents and other evidence, and my conversations with other law enforcement

officers and other individuals. I have not included all of the facts of the investigation and have

only included the facts that are necessary to establish probable cause for the requested Criminal

Complaint and arrest warrant. Any conversations contained herein are not verbatim and are only

related in substance and part, except where a conversation includes quotations.

       5.      This Statement is submitted in support of a Criminal Complaint for the arrest of

JOSIAH ERNESTO GARCIA (hereinafter “GARCIA”) for a violation of 18 United States

Code Section 1958, Use of Interstate Commerce Facilities in the Commission of Murder-For-Hire.

       6.      All the events described below took place within the Middle District of Tennessee.


                                     CASE BACKGROUND

       7.      Rent-a-Hitman: Your Point and Click Solution (https://rentahitman.com/) is a

website originally created in 2005 to advertise a cyber security startup company. The company

never took off, and over the next decade they received many inquiries about murder-for-hire

services. The website’s administrator then converted the website to a parody site that contains false

testimonials from those who have purported to use hit man services, and an intake form where




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people can request services. The website also has an option for someone to apply to work as a

hired killer. The website is maintained by an administrator in the state of California.

       8.      On February 16, 2023, GARCIA submitted an employment inquiry to

www.rentahitman.com, through the inquiry function on the website, where he indicated that he

was interested in obtaining employment as a hitman. GARCIA indicated he had “military

experience, and rifle expertise” and requested an “in depth job description”. The name entered into

the inquiry was Josiah GARCIA along with an email address containing his last name, and the

following phone number: 615-609-6559. IP address and location information were captured during

this communication, which was associated with a T-Mobile account, and placed the sender in the

Nashville, Tennessee, area.

       9.      On February 17, 2023, GARCIA reached out again to the website via a service

request. In this request, GARCIA included his home address, which matches the address on his

Tennessee State driver license, as well as his correct date of birth. GARCIA indicated he was

“looking for employment” but was having technical difficulties with the website. IP address and

location information were captured during this communication, which was associated with a

Comcast Cable account, and placed the sender in the Mount Juliet, Tennessee, area

       10.     On February 18, 2023, the website owner, under the alias of “Guido Fanelli, CEO

of Rent-a-Hitman” responded to GARCIA via email with a request for a resume, headshot, and

an image of GARCIA’s identification.

       11.     On February 19, 2023, GARCIA replied via email with a resume, photo of his

Tennessee State Driver license, and photograph of himself. GARCIA’s resume indicated he was

employed in the Air National Guard from July 2021 until present. The resume also indicated

GARCIA was a “Marksman Expert, awarded for not missing a single bullseye on all of the targets




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and for shooting expert with 2 (or more) weapons”. The resume indicated GARCIA was

nicknamed “Reaper,” which was “Earned from Military experience and Marksmanship.”

        12.     On February 20, 2023, GARCIA sent another follow-up email to the website owner

and advised that he was following up because he had not heard back after submitting his resume.

GARCIA added: “*Why I want this Job* Im looking for a job, that pays well, related to my

military experience (Shooting and Killing the marked target) so I can support my kid on the way.

What can I say, I enjoy doing what I do, so if I can find a job that is similar to it, (such as this one)

put me in coach!” I believe that GARCIA was stating his skillset matched the needs of a company

that hires employees to commit murder.

        13.     A Facebook account believed to belong to GARCIA has a public profile with the

name “Josiah Garcia” and photographs that match the headshot and identification card that were

sent in the email described above. On February 20, 2023, GARCIA posted a photo of an AR-15

rifle on the Facebook profile with the caption “She’s beautiful.”

        14.     On February 23, 2023, GARCIA sent another follow up email stating that he had

not heard anything back in a while and wanted to follow-up in hopes of scheduling an interview

soon.

        15.     On March 13, 2023, GARCIA sent another follow up email stating that he had not

heard back about potential employment opportunities and wanted to check in. GARCIA stated

that he hoped to hear back soon.

        16.     On March 16, 2023, at the direction of the FBI, the website owner responded to

GARCIA with an email stating; “Josiah, a Field Coordinator will be in touch in the near future.

You will receive a message when they are ready. Timing is based on client needs.”




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       17.     On April 3, 2023, an FBI Undercover Employee (UCE) contacted GARCIA via

text message to arrange a telephone call. The UCE sent text messages to 615-609-6559, which is

the phone number that GARCIA provided in his inquiries described above. The UCE advised they

were a recruiter for Rent A Hitman, asked GARCIA if he was still interested in a job and if he

wanted to schedule a phone interview. The UCE also advised the phone interview was a

preliminary interview and an in-person interview would be scheduled if the phone interview was

successful. GARCIA advised he wanted to do the phone interview. The UCE and GARCIA

agreed to talk via telephone on April 5, 2023, at 12:00p.m.

       18.     On April 5, 2023, the UCE placed a monitored and audio-recorded phone call to

GARCIA at 615-609-6559. During the call the UCE asked GARCIA if he was law enforcement

of any kind. GARCIA stated that he was not, but that he was in the Air National Guard. GARCIA

stated that he was a trained military sniper and hoped him being in the military would not disqualify

him for the job. The UCE told GARCIA that talking to the company is not a crime or illegal, but

commission of the hired job is a crime. GARCIA responded, “Yes sir.” GARCIA stated that he

had two questions, which were, “How soon can I start?” and “What do the payments look like?”

GARCIA stated that he had more rifle training than training in close quarters combat. When asked

if he preferred to shoot people from distance, GARCIA replied “Yes sir.” The UCE told GARCIA

that payment was based on GARCIA’s skill set and who the “mark” was, and that payment is

made half up front and half when the mission is completed. The UCE told GARCIA that payment

is also based on the number of people you kill. GARCIA asked if “fifteen to twenty thousand

would be too much to ask?” When asked if GARCIA was comfortable with taking fingers or ears

as trophies or performing torture at a client’s request, his response was “if it’s possible and in my

means to do so, I’m more than capable.” GARCIA stated that he would take a job to kill for as




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little as twenty-five hundred dollars. The UCE stated that jobs at that price were easier jobs to

complete. When asked what guns he owns, GARCIA stated that he owns an M4A1 (AR-15) but

no other guns. Later in the conversation, GARCIA again confirmed that he was comfortable with

torture of victims and taking trophies at a client’s request. GARCIA stated, “I definitely want to

meet. I’m ready for this.” The UCE asked, “What made you interested in this profession?”

GARCIA responded, “Being in the military, doing that sort of work already. I was looking into

civilian law enforcement but that’s not for me. I wanted something more exciting. I started

searching the web and then I found this, so here I am.” The call ended with the UCE asking, “How

quickly are you looking to start working?” GARCIA responded “As soon as possible.”

        19.     On April 6, 2023, the UCE met GARCIA at a restaurant/bar located in Nashville,

Tennessee. The UCE told GARCIA that did not have to do this and can walk away at any time.

The UCE asked GARCIA if he was sure he wanted to do this (accept a murder-for-hire job).

GARCIA responded, “I’ve been looking into this for some time now. I was looking for a way to

make good money.” GARCIA was asked again if he was sure he wanted to do this type of work

and told he was under no obligation to do so. GARCIA responded again that he had been looking

into it [killing people for money] for a long time. GARCIA stated that he was concerned that the

UCE may be law enforcement but is now comfortable the UCE is not. He stated that he was looking

for contract mercenary jobs online and that took him to contract hitman jobs. GARCIA asked if,

after the job is finished, if it would get traced back to him. The UCE told GARCIA that if he was

sloppy when he killed someone and was caught, the company could not help him. GARCIA stated

that he was not very worried about that because of the training he received in the Air Force. He

stated that the training he received in the Air Force was applicable to this job due to a lot of firearms




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training and receiving some of the Air Force “Special Forces” training. GARCIA stated that he

owned a black BMW that was registered to him.

       20.     Agents queried public and law enforcement databases and confirmed that a 2020

Black BMW X3, Tennessee Tag 309BLBM, is registered to Josiah Garcia, at an address known to

be associated with GARCIA’s parents, where GARCIA told the UCE that he currently resides.

       21.     GARCIA confirmed that the only gun he owns is an M4A1 rifle and he did not

think the bullets would be traceable to him. GARCIA stated that he is in the process of trying to

buy a handgun and showed the UCE a picture of a Sig Sauer handgun on his phone. GARCIA

stated that he works one weekend per month in the Air National Guard and is otherwise

unemployed. GARCIA inquired about the flexibility of the job due to him attending college next

year. At this point, the UCE asked GARCIA, “You are locked in? This is what you want? Because

it sounds like you have a lot going on. You’re in the military. You’ve got college. You’ve got a lot

going on, as far as good things in your life to kinda’ get in this world. It is a shady world, and I

just don’t want you to have regrets if you come to work for us, because it, I mean it messes with

your mind, shooting people.” GARCIA stated that he had weighed the psychological effects of

killing someone and he was ok with it. GARCIA stated that he would prefer to work in another

state but is ok to kill some local people. The UCE told GARCIA that if he were to kill fifty people,

he would make a large amount of money. GARCIA responded, “That’s rookie numbers for the

Reaper.” Towards the end of the meeting GARCIA stated, “My only question is when can I start?”

and then stated, “I’m very excited.”

       22.     On April 9, 2023, the UCE sent a text message to GARCIA. The UCE told

GARCIA that a job was available, if GARCIA was interested, and asked to meet with GARCIA

on Wednesday, April 12, 2023. The UCE stated it was an “easy mark.” GARCIA responded,




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“Sounds good. Is there a specific time/date it needs to be done?” The UCE told GARCIA that they

would talk in person about the details. GARCIA agreed to meet with the UCE on April 12, 2023,

at a location to be determined.

       23.     On April 11, 2023, the UCE sent a text message to GARCIA to confirm the

meeting on April 12, 2023. The UCE and GARCIA discussed timing but did not settle on a

specific time. The UCE told GARCIA that he would text him an address on the afternoon of April

12, 2023.

       24.     On April 12, 2023, the UCE and GARCIA again exchanged text messages,

wherein, the UCE and GARCIA set a time to meet, and the UCE provided GARCIA with the

meeting location, which was a public park, located in Hendersonville, Tennessee.

       25.     On the afternoon of April 12, 2023, GARCIA sent a text message to the UCE

telling the UCE that he was getting off of the exit and arriving at the parking lot of the meeting

location. GARCIA arrived at the meeting location in the above-described BMW.

       26.     The meeting was audio recorded and transmitted live to other FBI Agents who

participated in the operation. During the meeting, GARCIA was presented with a “target package”

consisting of photographs and a description of a fictional target’s name, weight, age, height,

address, and employment information. The UCE explained that the target was the husband of the

client, and he was abusive to her. The client was paying $5000 for the target to be killed. The UCE

told GARCIA that the client was going out of town for 7-10 days, and that the husband would be

home during that time. The payment offered was $2500 now, and the remainder when the job was

complete. In addition to the target package, GARCIA was provided with an envelope containing

$2500 cash. The UCE told GARCIA to count it to make sure it was good. GARCIA counted the

money. The UCE told GARCIA that he would meet up with him again in approximately one week




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to provide him with the rest of the money. During the conversation, GARCIA asked the UCE if

he needed to take a photo [of the dead body] as proof that the job was complete. GARCIA was

subsequently arrested by the FBI.

       27.    Following his arrest, and after waiving his Miranda rights, GARCIA was

interviewed by agents of the FBI and provided the following information. GARCIA stated that he

was looking for work because he needed money and his family could not afford rent. A co-worker

at the Air National Guard suggested to GARCIA that he look for “contract mercenary jobs.”

GARCIA searched that term online and came across the rentahitman.com website. On Friday,

April 7, 2023, GARCIA learned he had been hired by Vanderbilt medical and he was scheduled

to start training for the job on Monday April 10, 2023. When he was hired by Vanderbilt, he had

second thoughts about the hitman job and changed his mind. GARCIA stated that he was meeting

the UCE to tell him he had changed his mind and did not want to do this kind of work. GARCIA

stated that he was going to call the UCE when he got to his car and leave the money on the curb

for the UCE to pick up.

       28.    All of the communications described herein were made via the internet, telephone,

or in person. The internet communications were made first through rentahitman.com. Through this

investigation, I have learned that rentahitman.com is a website maintained in the state of

California. Subsequent e-mail based communication was performed through GARCIA’s Google

mail account. Through my training and experience, I know that Google LLC is a multinational

technology company, which is headquartered in the state of California. The telephone (voice and

text) conversations described herein occurred between the UCE and GARCIA’s mobile device

which is connected to an account held by T-Mobile USA. In my training and experience, I have

learned that T-Mobile is a company that provides cellular telephone access to the general public.




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I also know that wireless providers such as T-Mobile typically collect and maintain business

records, such as cell site data, billing information, subscriber information, payment information,

and other account information in their normal course of business in order to use this information

for various business-related purposes. In my training and experience, I have learned that the T-

Mobile business records described above are maintained or stored in locations outside of the state

of Tennessee.

                                        CONCLUSION

       29.      Based on the aforementioned facts, there is probable cause to believe GARCIA

committed a violation of 18 United States Code Section 1958, Use of Interstate Commerce

Facilities in the Commission of Murder-For-Hire. Accordingly, the undersigned requests that the

Court authorize the attached complaint and warrant for the arrest of GARCIA.




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